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  15
                        IN THE UNITED STATES DISTRICT COURT

  16
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

  17
                                   WESTERN DIVISION

  18

  19   JENI PEARSONS AND MICHAEL         Case No. 2:23-cv-07952-RGK-MAR
       STORC,
  20                        Plaintiffs,
                                        AFFIDAVIT OF SERVICE
  21            v.
  22
       UNITED STATES OF AMERICA;
  23   and Federal Bureau of Investigation
       Special Agents LYNNE ZELLHART,
  24   KATHRYN BAILEY DRESS,
       BRENT JAMES, WALTER DIX,
  25   RYAN HEATON, and LESLEY               Judge: Hon. R. Gary Klausner
       BUCHAN, in their individual
  26   capacities,                           Complaint Filed: September 22, 2023
                                             Am. Complaint Filed: Dec. 19, 2023
  27                             Defendants.
  28

                                    AFFIDAVIT OF SERVICE
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   1         I, Kyndra Griffin, declare and state as follows:
   2         1.     At the time of service, I was over 18 years of age and not a party to the
   3   above-captioned action.
   4         2.     I am employed by the Institute for Justice in the County of Arlington,
   5   State of Virginia. My business address is Institute for Justice, 901 N. Glebe Road,
   6   Suite 900, Arlington, VA 22203.
   7         3.     I hereby certify that I was directed to serve defendants by counsel
   8   Joseph Gay, admitted pro hac vice into this case, along with Jeffrey Atteberry of
   9   the Vora Law Firm, a member of the Bar of this Court with whom my firm is
  10   associated with as Local Counsel on this case.
  11         4.     I further certify that on Friday, December 22, 2023 I caused to be
  12   served by Certified Mail true and correct copies of the following documents on
  13   Defendant Ryan Heaton:
  14         ECF 44 First Amended Complaint
  15         ECF 47-3 Issued Summons to Ryan Heaton (in their individual capacity)
  16         ECF 48 Plaintiffs’ Notice of Motion for Extension of Time for Service and
                    Memorandum in Support
  17

  18
                          ECF 48-1 Declaration of Joseph Gay in Support of Motion

  19
                          ECF 48-2 Exhibit A to Joseph Gay Declaration

  20
                          ECF 48-3 Proposed Order on Motion for Extension of Time

  21         5.      I served Defendant by mailing copies of the above documents to the
  22   following persons in accordance with Fed. R. Civ. P. 4(i)(3):
  23       Ryan Heaton                       Ryan Heaton
  24       c/o U.S. Attorney General         c/o U.S. Attorney’s Office, C.D. of California
           Merrick Garland                   Civil Process Clerk
  25
           U.S. Department of Justice        Federal Building
  26       950 Pennsylvania Avenue, NW       300 North Los Angeles Street, Suite 7516
           Washington, DC 20530-0001         Los Angeles, California 90012-3341
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                                       AFFIDAVIT OF SERVICE
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   1            6.        I served true and correct copies of the documents listed in para. 4 on
   2   the persons and addresses listed in para. 5 via USPS certified mail by placing the
   3   documents to be served in sealed and addressed envelopes, postage prepaid, and by
   4   personally depositing the envelopes with the U.S. Postal Service Office located in
   5   Arlington, VA. I requested personal service of true and correct copies of the
   6   documents listed in para. 4 to be delivered to Defendant Ryan Heaton via process
   7   server pursuant to Fed. R. Civ. P. 4(e) with proof of service to be filed separately.,
   8            7.        Attached to this affidavit as Exhibit A are true and correct copies of
   9   the Certified mail receipts for the above mailings reflecting tracking numbers:
  10   9589071052701400878593 (U.S. Attorney General, Merrick Garland) and
  11   9589071052701400878609 (U.S. Attorney General for the Central District of
  12   California).
  13            8.        Attached to this affidavit as Exhibit B are the email notifications
  14   showing that package 9589071052701400878593 (U.S. Attorney General, Merrick
  15   Garland) was delivered via individual pick-up on Tuesday December 26, 2023 and
  16   package 9589071052701400878609 (U.S. Attorney General for the Central District
  17   of California) was delivered to the front desk, reception area, or mail room on
  18   Tuesday December 26, 2023.
  19

 20             I declare under penalty of perjury under the laws of the United States that the
 21    foregoing is true and correct.
 22

 23             Executed this f aay of December, 2023.




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